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             Exhibit 14
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From: Bethany Burke <bethany@blushingbooks.com>
Date: Tue, May 29, 2018 at 9:44 PM
Subject: Amazon titles



I have received your contact information from Barry and I-Books, (regarding case
#IBK95560).

I am assuming that you are either Zoey Ellis or, because you contacted Apple in this
matter, are authorized to represent her.

As you are well aware, ABCD Graphics and Design, a Virginia company (DBA Blushing
Books) has published the following titles:

       Born To Be Bound (ASIN: B01E1HQ57O – Alpha’s Claim - Book 1 – author Addison Cain –
       Published April 8, 2016) (https://www.amazon.com/Born-Bound-Alphas-Claim-Book-
       ebook/dp/B01E1HQ57O/ref=asap bc?ie=UTF8)

       Born To Be Broken (ASIN: B01GLVJ0GQ Alpha’s Claim - Book 2 – author Addison Cain –
       Published June 3, 2016) (https://www.amazon.com/Born-Broken-Alphas-Claim-Book-
       ebook/dp/B01GLVJ0GQ/ref=asap bc?ie=UTF8)

       Reborn (ASIN: B01LG31JAE – Alpha’s Claim - Book 3 – author Addison Cain - Published
       September 1, 2016) (https://www.amazon.com/Reborn-Alphas-Claim-Book-3-
       ebook/dp/B01LG31JAE/ref=asap bc?ie=UTF8)



Zoey Ellis, in conjunction with Quill Ink Books Limited (not listed on Amazon but listed
on Apple) has published:

       Crave to Conquer (ISBN: 1983661627 – ASIN: B0785GFVZ4 - Myth of
       Omega – Book 1 author – Zoey Ellis - Published January 15, 2018).
       Crave to Capture (ISBN: 1986613518 - ASIN: B078VDD5NL - Myth of
       Omega – Book 2 author – Zoey Ellis - Published March 20, 2018)
       Crave to Claim ( ASIN:B07BH29WQJ - Myth of Omega - Book 3
       author Zoey Ellis - Published May 23, 2018)

We are in consultation with our attorney regarding this matter. We believe that Addison
Cain's books’ similarities with your titles go beyond what is permissible in writing in the
fan world of “OmegaVerse.” We believe that the plot similarities are so many and so
striking that your works essentially follow an identical plot, with only point of view
changed, and we believe that in court, we could persuade a judge of this.

We intend to defend our author’s rights to the fullest extent permissible under American
copyright law. However, before we proceed I wished to reach out directly to you and
ask you to voluntarily remove the infringing material from sale, specifically Crave to
Conquer, Crave to Capture, Crave to Claim. If you do so, you will keep all revenue
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these titles have earned so far (at least on Amazon) and your Amazon account should
not be impacted in any way.

We both know that Amazon is unpredictable, but if the books are removed from sale as
a result of our legal action, you will almost certainly lose the revenue and your account
may be shut down. The risks to you are great.

I believe you plagiarized Ms. Cain’s titles. However, in order to prevent a costly legal
battle, I will agree to this compromise.

Please contact me by noon Eastern Time on May 30, 2018 and let me know if you
agree to my terms. If you do not, we will advise our attorney to move forward with all
legal avenues open to us.

Bethany Burke
CEO - Blushing Books Publications
